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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 EXPRESS MOBILE, INC.,                           §
                                                 §
        Plaintiff,                               §              No. 2:17-CV-00130-JRG-RSP
                                                 §                               (lead case)
 v.                                              §
                                                 §              No. 2:17-CV-00160-JRG-RSP
 BIGCOMMERCE, INC.,                              §                            (member case)
                                                 §
        Defendant.                               §

                                            ORDER

        In this patent case, Defendant BigCommerce, Inc. moves to transfer based on the

 alleged impropriety of venue in this District. Def.’s Am. Motion to Dismiss for Improper

 Venue [Dkt. # 13]. 1 Defendant argues that, even though it is a Texas corporation, venue is

 improper in this District under Stonite Prods. Co. v. Melvyn Lloyd Co., 315 U.S. 561 (1942).

        This Court has already considered and rejected that argument in another case in-

 volving Defendant. See Diem LLC v. BigCommerce, Inc., 2017 WL 3187473, at *2 (E.D.

 Tex. July 26, 2017) (concluding “a domestic corporation resides in the state of its incorpo-

 ration and if that state contains more than one judicial district, the corporate defendant

 resides in each such judicial district for venue purposes”). Defendant has articulated no

 reason to distinguish this case from that earlier ruling. Therefore the Court DENIES the



 1
   Despite the title of the motion, Defendant only seeks transfer. The Court may therefore resolve
 this motion directly without a Report and Recommendation.



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 transfer requested in Defendant’s Motion [Dkt. # 13].
        SIGNED this 3rd day of January, 2012.
       SIGNED this 8th day of November, 2017.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE




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